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 1   LAW OFFICES OF SCOTT L. TEDMON
     A Professional Corporation
 2   SCOTT L. TEDMON, CA. BAR # 96171
     1050 Fulton Avenue, Suite 218
 3   Sacramento, California 95825
     Telephone: (916) 482-4545
 4   Facsimile: (916) 482-4550
     Email: tedmonlaw@comcast.net
 5
     Attorney for Defendant
 6   VENNIE ABRAM
 7
 8
                           IN THE UNITED STATES DISTRICT COURT
 9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,           )
12                                       )                 No. CR. S-10-211 FCD
                       Plaintiff,        )
13                                       )                 WAIVER OF DEFENDANT
                 v.                      )                 VENNIE ABRAM’S
14                                       )                 PERSONAL PRESENCE
     TERRY ROBERSON, et al.,             )
15                                       )
                       Defendants.       )
16   ____________________________________)
17          Defendant, Vennie Abram, hereby waives the right to be in person in open court upon
18   the hearing of any motion or other proceeding in this cause, including, but not limited to, when
19   the case is ordered set for trial, when a continuance is ordered, and when any other action is
20   taken by the Court before or after trial, except upon arraignment, plea, impanelment of jury and
21   imposition of sentence. Defendant Abram hereby requests the Court to proceed during every
22   absence of the defendant which the Court may permit pursuant to this waiver; agrees that
23   defendant’s interest will be deemed represented at all times by the presence of defendant’s
24   attorney, the same as if defendant were personally present; and further agrees to be present in
25   person in court ready for trial any day and hour the Court may fix in defendant’s absence.
26          Defendant Abram further acknowledges that defendant has been informed of
27   defendant’s rights under Title 18 U.S.C. Section 3161-3174 (Speedy Trial Act), and authorizes
28   defendant’s attorney to set times and delays under that Act without defendant being present.

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 1   DATED: June 26 , 2010        I consent to the above waiver of presence.
 2                                /s/ Vennie Abram
                                  VENNIE ABRAM
 3                                Defendant
 4
     DATED: June 30 , 2010        I agree to the above waiver of presence.
 5
                                  /s/ Scott L. Tedmon
 6                                SCOTT L. TEDMON
                                  Attorney for Defendant Vennie Abram
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 8
     DATED: July 8, 2010          I approve the above waiver of presence.
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                                  FRANK C. DAMRELL, JR.
13                                UNITED STATES DISTRICT JUDGE
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